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 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   DAVID FABBRINI,                               No. CIV S-07-1099-GEB-CMK

12                  Plaintiff,

13          vs.                                    ORDER

14   CITY OF DUNSMUIR, et al.,

15                  Defendants.

16                                        /

17                  Pending before the court is defendants’ motion for a protective order (Docs. 29,

18   30, and 31). A hearing was held before the undersigned on May 14, 2008, and the parties

19   submitted supplemental briefs on May 23, 2008, and May 27, 2008 (Docs. 34 and 35).

20   Defendants, who are a governmental entity, various members of a city council, and various city

21   employees, “seek a protective order defining the parameters of permissible [deposition]

22   questioning . . . so as to avoid the duplication of expensive discovery proceedings.” In particular,

23   defendants argue that the attorney-client privilege, legislative privilege, the Brown Act, and/or

24   ///

25   ///

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 1   deliberative process privilege limit the scope of permissible questioning by plaintiff.1

 2

 3                                          I. BACKGROUND

 4                  According to plaintiff, his complaint “states a claim for . . . malicious

 5   prosecution, and retaliation in violation of the First Amendment.” In his February 12, 2008,

 6   order (Doc 18) denying defendants’ motion to dismiss, the district judge recited the following

 7   summary of the case:

 8                          . . . The gravamen of Plaintiff’s action is that Defendants caused a
                    meritless lawsuit to be filed against him and defamed him by publishing
 9                  statements about that lawsuit (“the prior action”). Defendant City of
                    Dunsmuir (“the City”) initiated the prior action following a dispute
10                  between the City and Plaintiff over a loan to Plaintiff of City funds and a
                    lease to Plaintiff of City land. (footnote omitted). The City subsequently
11                  voluntarily dismissed the prior action.

12   The district judge ultimately allowed the malicious prosecution claim to proceed, but granted

13   defendants’ motion to strike plaintiff’s claim that he was defamed (or retaliated against) by

14   defendants’ publication of a press release concerning the dispute and prior action.

15                  The underlying dispute concerns the conditions for the City’s approval of a loan to

16   plaintiff and a related lease of City property. Defendants outline the following background:

17                          In July 2000 Fabbrini applied for a loan through the City’s
                    Economic Development Block Grant Revolving Loan Fund. (footnote
18                  omitted). Fabbrini sought $100,000; approximately $62,000 for the
                    acquisition of the mini- storage, a warehouse, and assumption of a lease of
19                  the City-owned property (a small portion of the 100 acre Mott/Dunsmuir
                    airport) in which the mini- storage and buildings were located. The
20                  remaining $38,000 was to be earmarked for improvements to the leased
                    property and buildings which were being purchased. . . . At the August 16,
21                  2000 meeting the Dunsmuir City Council adopted Resolution 2000-36,
                    approving Fabbrini’s loan up to $100,000 subject to the conditions: (A)
22                  “Every effort be made to create and retain jobs . . . (B) An appraisal of the
                    property and the project shall be undertaken . . . and (C) Collateral in the
23                  amount of 110% shall be provided. . . .”

24

25          1
                    In their notice of motion, defendants also assert that the following additional
     “privileges” apply: the First Amendment; California Civil Code § 47; and qualified immunity.
26   Defendants do not, however, discuss these “privileges” in their supporting briefs.

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 1   At the May 14th hearing, defendants’ counsel admitted that the City made the mistake of

 2   disbursing the loan proceeds before compliance with the conditions had been established. When

 3   the oversight came to light, the parties engaged in negotiations between 2001 and 2005 to resolve

 4   the situation. The exhibits submitted in support of the motion reflect the following timeline of

 5   events:

 6             August 2000         City of Dunsmuir City Council adopts Resolution 2000-36
                                   unanimously approving the loan to plaintiff subject to specific
 7                                 conditions, one of which being that collateral in the amount of
                                   110% of the loan amount be provided.
 8
               October 2000        Promissory note and deed of trust executed.
 9
               September 2001      Letter from Keith Anderson of the City of Dunsmuir to plaintiff
10                                 regarding lack of documentation establishing that the conditions of
                                   the loan have been met.
11
               June 2004           Letter from plaintiff to Keith Anderson enclosing payments for
12                                 amounts in arrears.

13             July 6, 2004        Letter from City Attorney James Pierce to plaintiff acknowledging
                                   receipt of payment for amounts in arrears and outlining various
14                                 “problematic” issues with the lease/loan.

15             July 22, 2004       Letter from Pierce to plaintiff regarding lack of documentation
                                   establishing compliance with the loan conditions, including
16                                 collateralization.

17             October 14, 2004    Letter from Pierce to Michael Dean, plaintiff’s attorney, expressing
                                   an “understanding” that the parties are eager to resolve the
18                                 lease/loan issues.

19             January 2005        Letter from Pierce to Dean enclosing new loan documents for
                                   plaintiff to sign.
20
               March 11, 2005      Letter from Dean to Pierce indicating that negotiations are
21                                 terminated due to “delays and unresponsiveness of you and the
                                   City of Dunsmuir.”
22
               March 14, 2005      Letter from Pierce to Dean indicating his belief that the parties are
23                                 “so close to finalizing their lease/loan relationship that it appears
                                   objectively inefficient from a variety of perspectives to now
24                                 ‘terminate negotiations’ as stated in your March 11
                                   correspondence.”
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 1          October 2005            Letter from Pierce to plaintiff stating:

 2                                                  At this point in time, the Council has
                                            directed me to provide you with two options to
 3                                          avoid suit being filed regarding recovery of the
                                            loaned funds. The first option would be to repay the
 4                                          loan in full, perhaps through funds borrowed from
                                            another lender. The second option would be to
 5                                          execute a Deed of Trust to provide the City with an
                                            adequate security interest in the structures situated
 6                                          on the leased property, or other collateral.

 7          November 2005           Letter from Pierce to Dean stating that, due to questions regarding
                                    the appropriateness of a new lease with plaintiff, those issues
 8                                  would have to be set aside; to “depressurize” the issues concerning
                                    the prior loan/lease, plaintiff must either “secure or pay off the
 9                                  loan.”

10   As to the period between September 2001 and June 2004, defendants do not provide any letters

11   or other evidence.

12                  When the parties could not informally resolve the matter, the City Council

13   decided at a December 5, 2005, special meeting held in closed session to initiate litigation

14   against plaintiff to “secure the public money that the City had loaned Fabbrini.” The prior action

15   was filed in the Siskiyou County Superior Court on December 14, 2005. Plaintiff filed his

16   answer to the first amended complaint on March 16, 2006. On June 15, 2006, the City

17   voluntarily dismissed its lawsuit. According to a July 10, 2006, press release, the “dismissal was

18   deemed warranted by the Council, as a group, based on a cost/benefit analysis in consideration of

19   Mr. Fabbrini’s apparent intention of conducting what the City determined to be an unnecessary

20   amount of ‘discovery’ (e.g., depositions, etc.).”

21

22                                            II. DISCUSSION

23                  Defendants seek an order pursuant to Federal Rule of Civil Procedure 26(c)

24   limiting the scope of permissible discovery in light of the attorney-client privilege, legislative

25   privilege, Brown Act, and/or deliberative process privilege. Plaintiff states that he “desires to

26   take the depositions of . . . [defendants] Bill Sanford and John Fisher, regarding their decision to

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 1   move forward with a case against him that he alleges was baseless and motivated by malice.”

 2   Plaintiff also states that he “wants to inquire at deposition the basis for their decision to go

 3   forward with the case, what they knew about the underlying issues which served as the basis for

 4   their complaint, how they learned whether the claims asserted in the lawsuit were ‘legally

 5   tenable,’ and generally matters related to any background leading up to the decision to file, and

 6   then dismiss the lawsuit, approximately six months and many, many thousands of dollars later.”

 7          A.      The Brown Act

 8                  In their initial brief, defendants make only passing reference to the Brown Act,

 9   which is codified at California Civil Code § 54956, as follows:

10                          . . . In Kleitman v. Superior Court, 74 Cal.App.4th 324, 332 (1999),
                    the Court considered the discovery of information from a closed session
11                  under the Brown Act. In upholding the confidentiality of that information
                    the Court stated “‘[t]he Attorney General has concluded that ‘If the
12                  recording of a closed session discussion must be kept in confidence, it
                    follows that oral communications of such information may not be made to
13                  the public.’” Kleitman, supra, 74 Cal.App.4th at 332 citing 76
                    Ops.Cal.Atty.Gen. 289, 291 (1993). The Kleitman Court ultimately agreed
14                  with the Attorney General – “Disclosure of closed session proceedings by
                    the members of a legislative body necessarily destroys the closed session
15                  confidentiality which is inherent in the Brown Act. . . Had the Legislature
                    intended that members of a legislative body be required, upon court order,
16                  to disclose their personal recollections of unrecorded closed sessions
                    during discovery in Brown Act litigation, we are confident that such
17                  intention would have been made express in the Act.” Id. at 334.

18   Defendants do not discuss the applicability of the Brown Act in their supplemental brief.2

19                  By this reference, defendants appear to take the position that anything which

20   transpired during the closed session is not subject to discovery in this case simply because the

21   session was closed. Plaintiff cites North Pacifica LLC v. City of Pacifica, 274 F. Supp. 2d 1118,

22   1120 (N.D. Cal. 2003), and argues that this privilege does not apply in federal question cases.

23   Plaintiff is correct. The court in North Pacifica concluded that “the fact that the communications

24   were made under the auspices of the Brown Act is only evidence of elements of the [attorney-

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                      Defendants admit, in fact, that the “Brown Act does not provide a separate basis
26   for privilege. . . .”

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 1   client] privilege; it is not dispositive to the federal court’s determination of application of . . .

 2   privilege.” Id. at 1126 n.4. Further, in Kaufman v. Board of Trustees, the court concluded that

 3   the Brown Act does not create any evidentiary privilege. See 168 F.R.D. 278, 280 (C.D. Cal.

 4   1996). Instead, the Brown Act merely permits withholding certain information from the public.

 5   See id.

 6             B.    Legislative Privilege

 7                   Defendants argue that, in light of legislative immunity, legislators and their staff

 8   members cannot be compelled to testify concerning legislative activities. In particular,

 9   defendants contend “[o]ne may not inquire into the motives of a council person with respect to

10   his or her vote.” Defendants cite City of Las Vegas v. Foley, 747 F.2d 1294, 1297-98 (9th Cir.

11   1984), in support of their conclusion that a protective order should issue limiting discovery to

12   only relevant objective circumstances. They assert that legislative immunity provides a privilege

13   preventing discovery into subjective motives. Plaintiff responds that: (1) defendants’ conduct in

14   this case was not legislative; and (2) the district judge has already concluded that defendants are

15   not entitled to legislative immunity.

16                   Addressing plaintiff’s second argument first, the district judge did not conclude

17   that defendants were not entitled to legislative immunity. Rather, in denying defendants’ motion

18   to dismiss, the district judge concluded that plaintiff’s complaint survived dismissal because it

19   alleged that the immunity did not apply given allegations that defendants’ conduct was taken “in

20   bad faith, because of corruption, or primarily in furtherance of personal instead of public

21   interests.”

22                   Turning to plaintiff’s first argument – that defendants’ conduct was not legislative

23   in nature – defendants contend in their supplemental brief that “[a] vote to institute litigation is

24   quintessentially legislative in character.” Defendants, however, cite no authority in their original

25   or supplemental briefs in support of this very specific assertion. Whether an action is legislative

26   depends on consideration of four factors: (1) whether the act involves ad hoc decision-making,

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 1   or the formulation of policy; (2) whether the act applies to a few individuals or to the public at

 2   large; (3) whether the act is formally legislative in character; and (4) whether it bears all the

 3   hallmarks of traditional legislation. See Kaahumanu v. County of Maui, 315 F.3d 1215, 1220

 4   (9th Cir. 2003). In Kaahumanu, the Ninth Circuit held that a city council’s decision to grant or

 5   deny a conditional use permit was ad hoc in that it was based on the circumstances of the

 6   particular case at hand. See id. The court also concluded that the city council’s decision applied

 7   only to a few individuals and, thus, that application of legislative immunity was disfavored. See

 8   id. at 1222. The court also concluded that the decision to deny a single conditional use permit

 9   was neither formally legislative in character nor bore all the hallmarks of traditional legislation.

10                  Similarly, this case involves the decisions to institute litigation against plaintiff

11   and, later, to terminate that litigation. These decisions clearly applied only to plaintiff and not to

12   the public at large. Nor did the decisions involve formulation of broad policy. The decisions

13   were ad hoc in that they depended on the circumstances of plaintiff’s lease/loan. Finally, the

14   decisions were not the result of any ordinance or traditional legislative act. Therefore, legislative

15   immunity does not apply because the decisions were not legislative in nature. Because the

16   decisions were not legislative acts, defendants cannot invoke any privilege arising from

17   legislative immunity to obtain a protective order.

18          C.      Deliberative Process Privilege

19                  Defendants contend that, even if the court concludes that legislative immunity

20   does not apply, a protective order should nonetheless issue because the deliberative process

21   privilege is not limited to legislative acts. The deliberative process privilege was discussed in

22   North Pacifica. The court stated that “[f]ederal common law recognizes the deliberative process

23   privilege” and that “[u]nder the privilege a government can withhold documents or prevent

24   testimony that ‘reflect[s] advisory opinions, recommendations, and deliberations comprising part

25   of a process by which government decisions and policies are formulated.’” 274 F. Supp. 2d at

26   1120-21 (quoting FTC v. Warner Communications, 742 F.2d 1156, 1161 (9th Cir. 1984)). The

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 1   court recognized two requirements for application of the privilege. See id. at 1121. First, the

 2   information sought to be protected must be “generated before the adoption of [a] policy or

 3   decision.” Id. (citing FTC, 742 F.2d at 1161). Second, the information must be deliberative in

 4   nature, “containing opinions, recommendations, or advice about . . . policies [or decisions].” Id.

 5   The underlying inquiry is whether revealing the information exposes the deliberative process.

 6   See id.

 7                   Even if the privilege applies, it is qualified and can be overcome “if [the litigant’s]

 8   need for the materials [or information] and the need for accurate fact-finding override the

 9   government’s interest in non-disclosure.” Id. In determining whether the privilege, if it applies,

10   is overcome, the court considers the following factors: (1) the relevance of the evidence; (2) the

11   availability of other evidence; (3) the government’s role in the litigation; (4) the extent to which

12   disclosure would hinder frank and independent discussion regarding contemplated policies and

13   decisions; and (5) the presence of issues concerning alleged governmental misconduct. See id.

14                   It is clear that the deliberative process privilege is applicable to this case. First,

15   the information sought by plaintiff is pre-decisional in that it concerns city council discussions

16   about the decisions to initiate and later terminate litigation against plaintiff. Second, the

17   information also concerns deliberative matters – the discussions among city council members

18   with counsel present about the litigation decisions. Plaintiff suggests in his initial brief that the

19   deliberative process privilege does not apply because the acts in question were not legislative.

20   As discussed above, this requirement must be met for legislative immunity to apply. The

21   deliberative process privilege, however, is not limited to legislative acts. See FTC, 742 F.2d at

22   1161. Whereas legislative immunity applies only to legislative acts, the deliberative process

23   privilege is broader in that it protects deliberations regarding any act, not just legislative acts.

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 1                  Plaintiff cites National Wildlife Federation v. U.S. Forest Service, 861 F.2d 1114

 2   (9th Cir. 1988), in support of the argument that the deliberative process privilege only applies to

 3   discussions antecedent to adoption of a policy. It appears that plaintiff relies on the following

 4   passage from the case:

 5                          To qualify . . . under the “deliberative process” privilege, a
                    document must be both (1) “predecisional” or “antecedent to the adoption
 6                  of agency policy” and (2) “deliberative,” meaning “it must actually be
                    related to the process by which policies are formulated.”
 7
                    Id. at 1117 (quoting Jordan v. U.S. Department of Justice, 591 F.2d 753, 774
 8                  (D.C. Cir. 1978)).

 9   However, the court went on to reject plaintiff’s interpretation of the deliberative process

10   privilege. Specifically, the court held: “[W]e reject [the] suggested tripartite analysis; we will

11   not distinguish between deliberative documents which do and do not contain ‘non-binding

12   recommendations regarding law or policy.’” Id. at 1118. Thus, the deliberations need not

13   concern policy matters for the privilege to apply. As stated above, the essential inquiry is

14   whether the evidence sought is part of a deliberative process. See id.

15                  Because the privilege applies, the question in this case is whether plaintiff can

16   overcome the privilege. Applying the balancing test, defendants argue:

17                          First, the City’s interest in non-disclosure here is very high. This is
                    demonstrated by both the fact that the deliberations were inextricably
18                  intertwined with attorney client privileged communications and were made
                    in a closed session under the California Brown Act. While the Brown Act
19                  does not provide a separate basis for privilege, the fact that the
                    communications at issue here took place in a closed session (i.e., one that
20                  fell within one of the narrow exceptions to the requirement that all
                    meetings be open to the public), is highly probative of the City’s interest in
21                  non-disclosure.
                            Other factors considered are the “seriousness of the litigation,” the
22                  relevancy of the evidence, and the availability of other evidence of intent.
                    As indicated at the hearing and in Defendants initial points and authorities,
23                  the instant lawsuit is frivolous. Moreover, it is not a claim alleging a
                    widespread policy of discrimination or unconstitutional acts but rather
24                  arises out of a contractual dispute between Plaintiff and the City—i.e
                    whether the Plaintiff had any duty under the loan agreement to
25                  collateralize the loan and the City’s decision to file an action for
                    declaratory relief in an effort to enforce a condition of the loan given to
26                  Plaintiff. It is not a case that has widespread policy implications or affects

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 1                   the rights of anyone other than the Plaintiff.
                             With respect to the availability of other evidence of intent, in
 2                   Village of Arlington Heights v. Metropolitan Housing Development Corp.,
                     429 U.S. 252 (1977) the Supreme Court identified some of the
 3                   circumstantial evidence that is relevant when improper motive or
                     malicious intent is at issue: (1) the discriminatory effect of the official
 4                   action, (2) the historical background of the decision, (3) the specific
                     sequence of events leading up to the challenged decision, (4) departure
 5                   from the normal procedural sequence, (5) departures from the normal
                     substantive standards, and (6) legislative or administrative history of the
 6                   decision. Id. at 266-68. Plaintiff has made no effort to ascertain the intent
                     of the Defendants using any of these non-privileged sources of evidence or
 7                   by employing less expensive means of discovery.

 8   Plaintiff argues that the qualified deliberative process privilege is overcome in this case because

 9   he “is alleging that his own city government intentionally initiated frivolous and untenable

10   litigation against him in violation of his civil rights.” Thus, in essence, he is arguing misconduct

11   as the basis for the city council decisions at issue.

12                   The best reason to conclude that the deliberative process privilege should not be

13   applied in this case would be because there is governmental misconduct. However, as

14   defendants note, plaintiff has not demonstrated to the court that he made efforts to ascertain

15   improper intent or motive through non-privileged discovery (i.e., discovery into matters other

16   than the deliberations of the city council). This relates to the “availability of other evidence”

17   factor and does not favor plaintiff’s position. Plaintiff states in his supplemental brief that he is

18   entitled to “discover the basis upon which defendants decided that the lawsuit against plaintiff

19   was viable” and “any questions regarding facts surrounding what a malicious prosecution

20   defendant knew prior to having filed suit must be determined prior to a probable cause

21   determination.” He does not necessarily need to inquire into the city council’s deliberative

22   process in order to obtain this evidence. For example, he could ask defendants, either through

23   deposition or interrogatories, what documents or information outside the city council’s closed-

24   session deliberations provided a basis for initiating the prior action. Therefore, at this point in

25   the case, the deliberative process privilege applies and has not been overcome.

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 1                  The court does sympathize with plaintiff’s position. From the outset, the

 2   defendants’ decision to pursue litigation when the Frabbrini loan was current and only marginally

 3   undercollaterized is at least objectively questionable. Time also makes this argument more

 4   credible since the delay between the loan funding and the decision to initiate litigation further

 5   diminished the concern of undercollaterization as a result of the loan being further paid down

 6   during this period of time. The court is also concerned that the decision to terminate litigation

 7   may not have been based solely on a cost/benefit analysis, but may also have included a concern

 8   of defendants’ potential exposure to paying Fabbrini’s attorneys’ fees under the note and deed of

 9   trust if litigation had continued. These arguments, however, do not disappear with this court’s

10   ruling, and it is certainly possible that plaintiff’s preliminary discovery and investigation may

11   produce information that would latter favor a ruling overcoming the privilege.

12          D.      Attorney-Client Privilege

13                  Defendants argue that, because the city council met in close-door sessions with

14   counsel, the discussions at those sessions are protected by the attorney-client privilege.

15   Defendants admit that such privilege would be waived if they asserted the defense of advice of

16   counsel. However, they have tactically chosen not to assert that defense in order to preserve the

17   attorney-client privilege as to the deposition discovery sought by plaintiff.

18                  Plaintiff agrees “in theory.” He states in his supplement brief:

19                           . . . Plaintiff agrees in theory with defendants’ position – that is if,
                    in fact, the communications were made, with [the city’s attorney] Pierce
20                  acting as and giving counsel to the relevant individual defendants
                    regarding legal issues, then it seems clear that privilege should apply
21                  absent any applicable waiver.

22   However, plaintiff asserts that the privilege does not protect “any and all communications” and

23   argues that counsel’s mere presence does not “ipso facto” protect all discussions at the closed-

24   door sessions. Specifically, plaintiff states that defendants have not presented evidence to

25   establish that they sought the advice of counsel at the closed-door sessions and, therefore, have

26   failed to meet their burden of establishing that the attorney-client privilege should apply.

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 1                  Plaintiff is correct that defendants appear to state the attorney-client privilege rule

 2   too broadly. Defendants argue that all statements made by city council members in closed

 3   session “with the City attorney” are protected. However, as defendants acknowledge elsewhere

 4   in their briefing, the privilege only extends to “confidential disclosures made by a client to an

 5   attorney in order to obtain legal advice . . . as well as an attorney’s advice in response to such

 6   disclosures.” See In re Grand jury Investigation, 974 F.2d 1068, 1070 (9th Cir. 1992). Thus, the

 7   city attorney’s mere presence at the closed sessions alone is not enough. The privilege would

 8   only apply if defendants can establish that the purpose of the closed session was to obtain advice

 9                  Defendants have provided the authenticated meeting agendas for the Dunsmuir

10   City Council indicating that, on November 18, 2005, December 5, 2005, and December 16, 2005,

11   the council met in closed session for the following purpose: “Conference with Legal Counsel –

12   Anticipated Litigation (54956.9) – One Case.” There is also an authenticated agenda indicating

13   that the city council met again on June 9, 2006, to discuss with legal counsel the pending

14   litigation against plaintiff. A press release on July 10, 2006, indicates that the city council did

15   not believe that continuation of the lawsuit was warranted given the costs of litigation. The

16   agendas serve to satisfy defendants’ burden of establishing the nexus between the discussions at

17   the closed-door sessions and advice of counsel. Therefore, the attorney-client privilege applies.

18                  In his supplemental brief, plaintiff addresses a related issue – whether a defendant

19   to a malicious prosecution action can invoke the attorney-client privilege while, at the same time,

20   forego reliance on the defense of advice of counsel. He states that he has not been able to find

21   any primary or secondary authority addressing this question. However, plaintiff asserts that “a

22   finder of fact should be able to draw an inference from the assertion of privilege. . . that

23   defendants were advised that the claim was untenable.” There is no basis for such an inference.

24   It is just as likely that counsel advised defendants that the action was in fact tenable. Plaintiff is

25   comparing apples and oranges given that the attorney-client privilege and defense of advice of

26   counsel are different things. The defense is a shield to liability on the merits whereas the

                                                       12
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 1   privilege merely protects certain communications and does not go to the merits. One is a

 2   substantive merits issue; the other is an evidentiary issue.

 3

 4                                           III. CONCLUSION

 5                   Of the three privileges discussed above – the legislative privilege, the attorney-

 6   client privilege, and the deliberative process privilege – the latter is the most broad in that it

 7   encompasses all deliberative discussions antecedent to the city council’s decisions to initiate and

 8   later terminate the litigation against plaintiff. The legislative privilege does not apply because

 9   the decisions at issue were not legislative acts. Defendants have met their burden of establishing

10   that the attorney client privilege applies. In addition, absent a showing from plaintiff based on

11   non-privileged sources of an improper motive, the deliberative process privilege applies to the

12   discussions at the closed-door city council sessions and covers all discussions at those sessions.

13                   Accordingly, IT IS HEREBY ORDERED that:

14                   1.      Defendants’ motion for a protective order (Docs. 29, 30, and 31) is

15   granted; and

16                   2.      Plaintiff may not inquire at deposition or through other discovery into any

17   matters discussed at the closed-door sessions of the Dunsmuir City Council held on November

18   18, 2005, December 5, 2005, December 16, 2005, and June 9, 2006.

19

20    DATED: June 18, 2008
21                                                    ______________________________________
                                                      CRAIG M. KELLISON
22                                                    UNITED STATES MAGISTRATE JUDGE
23

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